
The Disciplinary Review Board having filed with the Court its decision in DRB 17-350, concluding that as a matter of final discipline pursuant to Rule 1:20-13(c), Magdy F. Anise of Jersey City , who was admitted to the bar of this State in 1987, should be suspended from the practice of law for a period of six months based on respondent's plea of guilty in the United States District Court, District of New Jersey, to violating 31 U.S.C. § 5324(a)(1) (for purpose of evading reporting requirements, cause a bank to fail to file a required report), conduct that violates RPC 8.4(b) (criminal act that reflects adversely on the lawyer's honesty, trustworthiness or fitness as a lawyer in other respects); and good cause appearing;
It is ORDERED that Magdy F. Anise is suspended from the practice of law for a period of six months and until the further Order of the Court, effective November 15, 2018; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that pursuant to Rule 1:20-20(c), respondent's failure to comply with the Affidavit of Compliance requirement of Rule 1:20-20(b)( 15) may (1) preclude the Disciplinary Review Board from considering respondent's petition for reinstatement for a period of up to six months from the date respondent files proof of compliance; (2) be found to constitute a violation of RPC 8.1(b) and RPC 8.4(d) ; and (3) provide a basis for an action for contempt pursuant to Rule 1:10-2; and it is further **361ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
